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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK



 BANCO SAN JUAN INTERNACIONAL, INC.,


                              Plaintiff,
                                               Case No. 1:23-cv-06414 (JGK)
                      v.

 THE FEDERAL RESERVE BANK OF NEW YORK
 and THE BOARD OF GOVERNORS OF THE
 FEDERAL RESERVE SYSTEM,


                              Defendants.




  PLAINTIFF BANCO SAN JUAN INTERNACIONAL, INC.’S MEMORANDUM IN
OPPOSITION TO DEFENDANTS THE FEDERAL RESERVE BANK OF NEW YORK’S
  AND THE BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM’S
                        MOTIONS TO DISMISS
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                                       INTRODUCTION

       Do the FRBNY and the Board wield absolute and unreviewable discretion over depository

institutions’ access to the U.S. financial system? This fundamental issue animates Defendants’

respective motions to dismiss, as they seek to immunize themselves—both with respect to BSJI

and, by necessary implication, any financial institution maintaining or seeking a master account

and Federal Reserve services—from judicial scrutiny. In pressing the Court to adopt such a view,

Defendants posit that the governing statutory regime, the Administrative Procedure Act, and basic

principles of constitutional, contractual, and common law all fail to provide a check on the breadth

of their authority. They also ask this Court to deem it irrelevant that their decision to terminate

BSJI’s master account rested on their own subjective, incongruous determination that BSJI, a

Puerto Rican bank depository institution of modest size, purportedly posed “undue risk to the

overall economy.” As Defendants would have it, as a matter of law, no cause of action permits

challenges to their decision-making process, irrespective of the merits of their ultimate decree. It

is a breathtaking claim to unchecked power.

       BSJI’s history with the FRBNY is a cautionary tale. Over the course of multiple years

BSJI spent thousands of hours and millions of dollars working with the FRBNY to develop a

compliance system that both protected BSJI from any undue risk and served as the North Star for

other International Banking Entities (“IBEs”) seeking to improve their compliance functions.

These efforts were contemporaneously validated by the FRBNY, which praised BSJI for its

commitment to working with the FRBNY, blessed BSJI’s compliance systems and controls, and

adopted BSJI’s practices in guidance issued to other IBEs. As Defendants’ antagonism towards

IBEs and novel institutions grew, however, they chose to deprive BSJI (and other IBEs and novel

banks) of the Federal Reserve services and master account to which they were entitled. In the case

of BSJI, this plan was effectuated through a pattern of stonewalling (for months at end, the FRBNY
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repeatedly declined BSJI’s multiple requests for constructive communication) and reverse-

engineering shifting, pretextual justifications. The FRBNY has attempted to shutter BSJI’s

account on no fewer than three separate and meritless bases—the last effort amidst salacious

accusations. BSJI, whom the FRBNY wrongly accused of facilitating laundering money in this

Court, was forced to bring suit. None of Defendants’ recent actions can be reconciled with the

FRBNY’s own conclusion, just a short while earlier, that BSJI’s compliance program was top-

notch. Nor are they compatible with the fact that BSJI—according to Defendants, a purported

facilitator of money laundering—has voluntarily sought the scrutiny and transparency of the

judicial system to vindicate its rights.

         This case presents an enormous issue not yet addressed by any full Court of Appeals,

 namely, whether Congress endorsed a dual banking system in which the states (through their

 regulatory processes) are on equal footing with the federal government (through its regulators)

 or whether, instead, federal entities, including the Defendants here, have the unfettered

 discretion to effectively overrule the judgment of states and their regulators. As members of the

 Senate Finance and House Banking Committee recently concluded: “[a] depository institution

 that does not have a master account can’t really function as a financial institution, and if the

 Federal Reserve has the ability to determine which depository institutions can and cannot

 receive a master account, the Fed would essentially become the ultimate decision-maker for what

 is a bank in this country, upsetting our dual banking system.” Br. as Amici Curiae in Supp. of

 Pl’s Mot. for Jud. as a Matter of Law, Custodia Bank Inc v. Fed. Rsrv. Bd. of Governors et al.,

 No. 1:22-cv-00125-SWS, Dkt. No. 259 at 15 (D. Wyo. Jan. 19, 2024). Should this Court (and

 other courts) continue to endorse the unfettered discretion over access to master accounts and

 Federal Reserve services that Defendants claim, any financial institution, for any reason, could



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 be abruptly shut out of the U.S. financial system without judicial recourse. While Defendants’

 actions against BSJI are alone a substantial cause for concern, the proposition that Defendants

 are empowered to shutter master accounts carte blanche—to take one hypothetical example,

 because a depository institution’s CEO spoke negatively about a Board or FRBNY action—is

 chilling. Moreover, Defendants’ purported policy justification—that they alone guard the U.S.

 financial system against purported bad actors—squarely contravenes Congress’s adoption of this

 nation’s dual-banking system.       Put simply, Congress has established state (or territorial)

 regulators as the arbiters of state-chartered institutions, and it is their responsibility to determine

 the soundness of depository institutions. Defendants are not empowered to exercise unilateral

 veto power over a state regulator simply because they question the merit of that regulator’s

 decision.

       Defendants’ arguments are flawed at every juncture. In seeking a statutory basis for their

purported discretion over master account access, Defendants contradict their own historical

treatment of the governing statutory regime and claim that the plain language of 12 U.S.C. § 342

(“Section 342”) provides unfettered discretion over master account access. Yet the principal

critique they lodge against BSJI’s statutory authority for its right to a master account, 12 U.S.C. §

248a (“Section 248a”), that it contains no express reference to master accounts, is also true of

Section 342. The reason for this is readily apparent: master accounts are a recent creation of

Defendants, did not exist at the time the Federal Reserve Act and the Deregulation and Monetary

Control Act (the “Monetary Control Act”) were enacted into law, and are required to access

Federal Reserve services only because of Defendants’ say-so. Defendants offer no substantive

rebuttal to the volumes of legislative history evidencing Congress’s intent to establish Federal

Reserve services—which are integral to operating in the U.S. financial system but, per Defendants,



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are not made available to a depository institution unless through a master account—as a right of

any legally eligible depository institution. Nor can they seriously contest that Defendants’ past

practices, as well as the weight of academic analyses concerning Federal Reserve services and

master accounts, fully accord with the understanding that BSJI is entitled to a master account and

the Federal Reserve services it provides. BSJI’s Mandamus Act, Declaratory Judgment, and Due

Process claims should therefore proceed.

       Defendants’ arguments are even more untenable if one assumes, for the sake of argument,

that they hold a degree of discretion over master accounts and Federal Reserve services. The severe

implications of their claim to unfettered authority are stark. Here, the FRBNY claims that

Operating Circular No. 1’s “Duty of Care” provision does not, despite its clear language, impose

a duty of care, and that BSJI cannot bring a claim for breach of that duty against the FRBNY as a

matter of law. This contention is belied by governing Federal Reserve Bank regulations, which

make clear that the FRBNY—and all Federal Reserve banks—are obligated to exercise good faith

and care and are liable for any violations thereof. This obligation is plainly memorialized in

Operating Circular No.1’s Duty of Care. The FRBNY’s bad-faith conduct with respect to BSJI

also cannot be excused by Operating Circular’s No. 1’s so-called “unqualified termination

provision”—which itself is void as against public policy—given that contractual grants of

discretion are subordinated to the duties of good faith and care. This doctrine holds equally true

with respect to BSJI’s claim of the implied breach of the covenant of good faith and fair dealing.

Considering the Amended Complaint in its entirety and drawing reasonable inferences in BSJI’s

favor—as is required at the pleading stage—BSJI has plainly stated a claim both for breach of

Operating Circular No. 1’s duty of care and the implied covenant of good faith and fair dealing.




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       With respect to BSJI’s Administrative Procedure Act (“APA”) claim, Defendants contend

that their actions are not subject to judicial scrutiny as a matter of law, whether due to the FRBNY’s

purported status as a non-agency, the supposed lack of a manageable standard against which their

actions here can be assessed, or the notion that they are owed such substantial deference that the

merits of their decision-making process cannot be questioned. Each is incorrect. Initially, whether

an administrative unit qualifies as an “agency” for purposes of the APA turns not on a formalistic

assessment of that unit’s relationship with other government agencies, but rather on a practical

analysis of the extent to which that administrative unit exercises independent authority. It is

illogical that the Board, which claims to perform only advisory functions concerning master

account access, is indisputably an agency while the FRBNY, which exercises decision-making and

final authority over master accounts, is not. Defendants likewise cannot seek recourse in the notion

that this Court lacks the necessary manageable standards against which to adjudge their actions

because Defendants themselves assert that their decision to terminate BSJI’s master account was

made pursuant to formal regulations and informal administrative guidance. Both, of course, are

well-recognized to supply manageable standards for purposes of an APA claim. Additionally,

Defendants’ own historical statements preclude the application of deference to their decision, as it

is black-letter law that an agency action that conflicts with its own prior interpretations of the

relevant statutory scheme negates the application of Chevron deference.

       Earlier this year, in criticizing the expansionist approach inherent in judicial deference to

agency interpretations of their own powers under the Chevron doctrine, Justice Gorsuch

recognized that the problem is that “the government always wins” and lamented the doctrine “is

exploited against the individual and in favor of the government.” Tr. of Oral Arg. at 21, 135,

Relentless, Inc. v. Dep’t of Com., No. 22-1219 (Jan. 17, 2024). Defendants’ actions against BSJI



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appear to reflect an unsettling adoption of such a mindset. Neither the Chevron doctrine nor

statutory law provide (or should provide) Defendants with the immunity they reimagine now.

Defendants’ assertion that they have unfettered and unreviewable decision-making authority

should not be endorsed, especially within the context of a motion to dismiss. Defendants’ motions

should be denied and BSJI’s case should continue.

                                         ARGUMENT

       BSJI recognizes that this Court considered, in the context of an expedited preliminary

injunction proceeding, many of the arguments and facts underlying this dispute. It likewise

acknowledges that two district courts have recently ruled in favor of the Board and other Federal

Reserve Banks on the issue of whether a nonmember depository institution is entitled to a master

account. See PayServices Bank v. Fed. Rsrv. Bank of San Francisco, No. 1:23-cv-00305-REP,

2024 WL 1347094, at *6 (D. Idaho Mar. 30, 2024); Order on Mot. for Summ. J., Custodia, No.

1:22-cv-00125-SWS, Dkt. No. 317 (D. Wyo. Mar. 29, 2024). But none of these developments

compel the dismissal the Defendants seek; on the contrary, BSJI’s case should proceed. This

Court’s earlier preliminary injunction ruling was made on an expedited basis, without the benefit

of the additional information contained in BSJI’s Amended Complaint, and on an extremely

exacting standard that far exceeds the plausibility standard applicable to motions to dismiss.

Indeed, in Custodia, the district court actually denied a similar motion to dismiss made by the

Defendants here. See Order Den. Mot. to Dismiss, Custodia, No. 1:22-cv-00125-SWS, Dkt. No

164 (D. Wyo. June 8, 2023). Additionally, neither of the other district court cases addressed the

central breach of contract claims that BSJI brings because they in fact never had a master account

and thus did not benefit from the contractual duties of due care and good faith imposed on the

Defendants thereunder—issues that require fact-intensive analyses.



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          Through this brief and its case, BSJI provides this Court with a comprehensive elucidation

of the issues at hand and the sound bases to deny the Defendants’ motions. Section One addresses

BSJI’s statutory right to Federal Reserve services and master account access and includes a

thorough analysis of the legislative history leading to the enactment of the Monetary Control Act

and ensuing interpretations by the Board, Federal Reserve Banks, and Congress itself. This

showing, in turn, evidences that BSJI has adequately pleaded its claims under the Mandamus Act,

Due Process Clause, and Declaratory Judgment Act. Section Two details Defendants’ years-long,

bad-faith scheme to terminate BSJI’s master account—including actions not alleged in BSJI’s

original complaint—and rebuts the FRBNY’s assertion that they have immunized themselves from

contractual liability. Finally, Section Three addresses BSJI’s Administrative Procedure Act claim

and Defendants’ flawed efforts to evade judicial scrutiny under an Administrative Procedure Act

review.

   I.        BSJI HAS STATED A CLAIM FOR ISSUANCE OF A WRIT OF MANDAMUS,
             DECLARATORY JUDGMENT, AND VIOLATION OF BSJI’S DUE PROCESS
             RIGHTS

          Defendants acknowledge that the merit of BSJI’s Mandamus Act, Declaratory Judgment,

and Due Process claims primarily turns on a matter of statutory interpretation concerning master

accounts and access to Federal Reserve services. As the Amended Complaint details at length, the

principal statutory provision at issue, Section 248a, is properly understood to effectuate two of

Congress’s goals in implementing the Monetary Control Act. First, it codifies universal access to

Federal Reserve services for member institutions and nonmember depository institutions alike;

second, it mandates uniform pricing for said services regardless of membership status. This

understanding of 248a was validated, after a comprehensive analysis, by the only federal circuit

court judge to consider the question of whether depository institutions are entitled to Federal



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Reserve service and master account access. Fourth Corner Credit Union v. Fed. Rsrv. Bank of

Kansas City, 861 F.3d 1052, 1067–70 (10th Cir. 2017) (Op. of Bacharach, J.).

       The primary criticism Defendants lodge against the controlling nature of Section 248a here

is that it does not contain the words “master account.” This ignores both the relevant statutory

regime and the role of master accounts. Practically speaking, master accounts have simply served

as the exclusive mechanism through which Federal Reserve services may be accessed for the past

twenty-five years, and the Monetary Control Act establishes access to these services as a right of

nonmember depository institutions. As such, the statutory regime’s silence as to master accounts

does not suggest congressional acquiescence to the unfettered authority Defendants purport to

hold. As the Monetary Control Act, the corresponding legislative history, and thirty years of

uniform understanding make clear, Congress did not intend to provide nonmember financial

institutions with the keys to access the U.S. financial system only for Defendants to be allowed to

bolt the door at their whim.

           A. The Board’s 1998 Implementation of Master Accounts

       Master accounts—the “bank account for banks”—are a recent creation of the Board. First

implemented in 1998, master accounts were introduced to facilitate the growing environment of

interstate banking. Whereas depository institutions previously maintained separate clearing

accounts—through which they could access Federal Reserve services—at separate Federal

Reserve banks, depository institutions were now required to hold a single master account at a

designated Federal Reserve bank. This new structure ultimately proved beneficial with respect to

ease of account management. Yet it was not without consequence. A depository institution’s

ability to access Federal Reserve services—and thereby the U.S. financial system—was now

inexorably tied to a single Federal Reserve bank. It would be nearly two decades before the

practical implications of this development came to bear.
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        As master accounts were not implemented until almost thirty years after Congress enacted

the Monetary Control Act—and nearly ninety years after the Federal Reserve Act—the relevant

statutory language does not expressly contemplate the provision of master accounts. Defendants’

arguments to the contrary simply cannot reconcile this temporal issue. And while the governing

statutory regime does not specifically mention “master accounts,” the legislative history

underlying the Monetary Control Act, its plain language, and ensuing analyses all make clear that

BSJI, like other legally eligible institutions, is statutorily entitled to Federal Reserve services, and

consequently a master account.

            B. Demand for Universal Federal Reserve Service Access: The Backdrop to the
               Monetary Control Act

        Prior to the enactment of the Monetary Control Act, Federal Reserve services were directly

available only to members of Federal Reserve banks. While these services were provided free of

charge, members were required to meet reserve balance requirements at their respective Federal

Reserve bank. These reserve requirements, in turn, allowed the Board and the Federal Reserve

banks to exercise control over U.S. monetary policy: by increasing or decreasing reserve

requirements, the amount of liquidity in the U.S. financial system could be altered. This provided

a crucial mechanism over which the Board and the Federal Reserve banks could influence interest

rates throughout the market.

        The necessity of access to Federal Reserve services, however, was not limited to member

banks. Smaller, nonmember—and largely state-chartered—banks likewise required these services

to effectively serve their customers. Consequently, large member banks, in concert with the Board

and Federal Reserve banks, established Automated Clearing House (“ACH”) networks to provide

these services to nonmembers indirectly for a substantial fee. In many respects, this structure

mirrored that of the “correspondent bank” structure employed by Federal Reserve banks today.


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        This system was deemed intolerable by the government and market participants alike.

Given the effective monopoly exercised by ACHs (with the assistance of the Board and Federal

Reserve banks), U.S. Department of Justice’s Antitrust Division announced that the antitrust laws

“required equal access” to federal reserve services and brought multiple lawsuits against ACHs in

the 1970s. Market participants also lodged substantial criticism and engaged in extensive efforts

to persuade Congress to remediate the unequal banking system that had developed in the U.S.

financial market.

        Though a consequence of their own making, the Board and the Federal Reserve banks

likewise became proponents of congressional action. As inflation skyrocketed throughout the

1970s, meeting the Board’s reserve requirements became an increasingly arduous tasks for all but

the largest banks. By 1980, fewer than half of all U.S. banks were Federal Reserve bank members,

severely curtailing the Board’s ability to influence interest rates and curtail inflation. Federal

Reserve membership, the Board concluded, needed to dramatically expand.                 These efforts

propelled the enactment of the Monetary Control Act, which balanced the Board’s need for

increase membership with the market’s demand for an equal playing field.

               C. The Language of the Monetary Control Act
        These goals were ultimately embodied in Section 248a of the Monetary Control Act, which

states that:

               The schedule of fees prescribed pursuant to this section shall be based on the
               following principles:

                 . . . (2) All Federal Reserve bank services covered by the fee schedule shall
               be available to nonmember depository institutions and such services shall be
               priced at the same fee schedule applicable to member banks[.]

12 U.S.C. § 248a(c)(2). The fee schedule explicitly covers Federal Reserve services critical to the

functioning of a depository institution—including check clearing and collection services, wire


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transfer services, automated clearinghouse services, and settlement services—as well as “any new

services which the Federal Reserve System offers.” Id. § 248a(b).

        Section 248a’s mandate that Federal Reserve services be made available as a matter of right

to legally eligible, nonmember depository institutions is evident from Congress’s use of the word

“shall.” It is blackletter law that the use of the word “shall” imposes “discretionless obligations.”

Lopez v. Davis, 531 U.S. 230, 241 (2001); see also Nat. Res. Def. Council v. Regan, 67 F.4th 397,

402 (D.C. Cir. 2023) (“It is well established that ‘the word “shall” generally indicates a command

that admits of no discretion on the part of the person instructed to carry out the directive.’”) (citation

omitted). This has been squarely acknowledged by the Second Circuit, which recognized that “check

clearing services”—one of the enumerated Federal Reserve services in Section 248a— are required

by statute to be “made available to all banks.” Greater Buffalo Press, Inc. v. Fed. Rsrv. Bank of New

York, 866 F.2d 38, 40 (2d Cir. 1989). The lack of a restrictive modifier preceding the term

“nonmember depository institutions” compels the conclusion that Congress did not intend to limit

what nonmember depository institutions were entitled to Federal Reserve services: this was a right

provided to all. See W. Minn. Mun. Power Agency v. Fed. Energy Regulatory Comm’n, 806 F.3d

588, 592 (D.C. Cir. 2015) (finding that the terms “states” and “municipalities” included all states

and all municipalities because of the absence of restrictive modifiers). Because a master account has

been deemed by Defendants to be a prerequisite to accessing these mandatory Federal Reserve

services, it necessarily follows that legally eligible depository institutions are entitled to master

accounts.

            D. The Legislative History of the Monetary Control Act

        The Monetary Control Act’s legislative history fully accords with the understanding that

BSJI is entitled to Federal Reserve services. Prior to the statute’s enactment, the House Committee

on Banking Finance and Urban Affair recognized that “the wide access to Federal Reserve services
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for nonmember banks authorized by” the Deregulation Act would ensure “that a basic level of

services is available to all banks throughout this country on a nondiscriminatory basis.” H.R.

Rep. No. 95-1590, at 20 (1978) (emphasis added). The joint conference report that accompanied

the Monetary Control Act likewise makes clear that access to Federal Reserve services is a right

enshrined by 248a. 126 Cong. Rec. 6250 (1980) (Conf. Rep.) (“The House amendment includes

a provision for the Federal Reserve to price services provided by the Federal Reserve banks and

open access to [Federal Reserve] services to all depository institutions on the same terms and

conditions as member banks.” (emphasis added)). And in the aftermath of the statute’s passage,

the House Subcommittee on Domestic Monetary Policy recognized that “[b]efore the MCA, the

payments system was segmented into two distinct and separate areas . . . the Monetary Control Act

changed this system in three way. . . . It further specified that these services should be made

available to all depository institutions and not just to member banks.” The Role and Activities

of the Federal Reserve System in the Nation’s Check Clearing and Payment System (1984)

(emphasis added).

           E. The Board’s and the FRBNY’s Historic Interpretation of the Monetary
              Control Act as Mandating Master Account Access as a Right

       For over thirty years, the Board and the FRBNY joined Congress, and market participants

more broadly, in recognizing that access to Federal Reserve services was a right of nonmember

depository institutions. Defendants’ public statements on the topic are myriad. For example, in the

immediate aftermath of the Monetary Control Act’s implementation, the Board recognized that

“[s]ervices covered by the fee schedule are available to all depository institutions.” Bd. of Govs. of

the Fed. Rsrv. Sys., Policies: Principles for the Pricing of the Federal Reserve Bank Services,

(emphasis added), http://www.federalreserve.gov/paymentsystems/pfs_principles.htm (last updated

Nov. 8, 2008). The FRBNY likewise acknowledged that “services will be available equally to all


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depository institutions” in light of the Monetary Control Act’s implementation the following year.

FRBNY,      Annual      Report:    1980       at    35        (1981),    https://fraser.stlouisfed.org/files/docs

/historical/frbny/1980_frb_newyork.pdf.

        This interpretation of the Monetary Control Act did not waiver over the next three decades,

as has been recognized by leading academic experts on the Federal Reserve system. Julie A. Hill,

From Cannabis to Crypto: Federal Reserve Discretion in Payments, 109 Iowa L. Rev. 117, 177–78

(2023). In publication after publication, the Board made clear that “Federal Reserve payment

services are available to all depository institutions . . . .” Bd. of Governors of the Fed. Rsrv. Sys.,

Policies:         The      Federal            Reserve             in         the         Payments        System,

http://www.federalreserve.gov/paymentsystems/ pfs_frpaysys.htm (emphasis added) (issued 1984;

revised 1990 and January 2001). And to this day, the Board publicly acknowledges that “Congress

expanded the Federal Reserve’s role in the payment system with the enactment of the Monetary

Control Act of 1980 (MCA). The MCA subjected all depository institutions, not just member banks,

to reserve requirements and also gave all depository institutions access to the Federal Reserve’s

payment services.” Bd. of Governors of the Fed. Rsrv. Sys., Federal Reserve’s Key Policies for the

Provision    of     Financial     Services,        (emphasis        added)         https://www.federalreserve.gov

/paymentsystems/pfs_about.htm.

        As with Section 248a itself, the Board and the FRBNY were unequivocal in their language:

all depository institutions, on a nondiscretionary basis, held a right to Federal Reserve services

access. Defendants’ recent, and opportunistic, interpretation of the scope of the Monetary Control

Act cannot be reconciled with their own public statements and practices over the decades.




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           F. Defendants’ Criticisms of Section 248a as the Source of BSJI’s Right to a
              Master Account Are Unavailing

       Defendants contend that Section 342 of the Federal Reserve Act, rather than Section 248a,

serves as the principal statutory authority over master account access and, by its “plain text” (Board

Br. at 28; FRBNY Br. at 14), grants the FRBNY the unfettered right to terminate BSJI’s master

account.

       In pertinent part, Section 342 states that “[a]ny Federal reserve bank may receive from any

of its member banks, or other depository institutions, and from the United States, deposits of

current funds in lawful money, national-bank notes, Federal reserve notes, or checks, and drafts

. . . .” 12 U.S.C. § 342. As is plain from the above, the text of Section 342 is utterly silent both as

to master accounts and the Federal Reserve services they facilitate. Rather, Section 342 speaks to

the types of entities that may—but are not statutorily required to—make deposits with a Reserve

Bank, as well as the forms of currency that the Federal Reserve banks may receive from those

institutions. See Farmers’ & Merchs.’ Bank of Monroe v. Fed. Rsrv. Bank of Richmond, 262 U.S.

649, 655, 662 (1923) (“[N]either section 13, nor any other provision of the Federal Reserve Act,

imposes upon reserve banks any obligation to receive checks for collection.”). Whether a

depository institution is allowed to deposit certain types of currency says nothing as to whether it

is entitled to access Federal Reserve services in the first place. See Fourth Corner, 861 F.3d at

1072 (Op. of Bacharach, J.) (recognizing that Section 342 strictly governs “the types of monetary

instruments that Federal Reserve Banks may receive for deposit or collection.”).

       Defendants’ interpretation of the scope of Section 342 produces nonsensical results. For

purposes of the receipt of deposits, Section 342 places nonmember depository institutions on par

with the United States: both are subject to the FRBNY’s discretion as to what types of currency

may be deposited. If Defendants’ interpretation of Section 342 were correct, it would mean that


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Congress provided every Federal Reserve bank with the authority to unilaterally block the United

States a master account, and consequently the United States’s access to its own financial system.

“Congress . . . does not alter the fundamental details of a regulatory scheme in vague terms or

ancillary provisions – it does not, one might say, hide elephants in mouseholes.” Whitman v. Am.

Trucking Ass’n, 531 U.S. 457, 468 (2001). It is unreasonable to assert that Congress delegated

such substantial power over the U.S. government to self-proclaimed “independent entities . . .

independently run by their own board of directors” (FRBNY Br. at 14) in indirect fashion.

       The FRBNY also posits that because Section 248a is located in a statutory subchapter titled

the “Board of Governors of the Federal Reserve System,” it cannot serve as the source of authority

for master account and Federal Reserve services supplied by Federal Reserve banks. Id. at 19.

This argument is circular, as it assumes that Congress directly delegated discretion over master

account and Federal Reserve service access to Federal Reserve banks in the first instance. Rather,

the Federal Reserve Act permits the Board to delegate “any of its functions,” save certain actions

not relevant to this dispute, to the Reserve Banks. And the Board’s delegation of responsibility

concerning master accounts and Federal Reserve services does not authorize the FRBNY to vitiate

a congressional mandate. In any event, the title of a statute cannot “undo or limit that which the

text makes plain.” Brotherhood of R. R. Trainmen v. Balt. & O.R. Co., 331 U.S. 519, 529 (1947).

       The Board further undermines its interpretation of the relevant statutory provisions by

claiming that “Congress recently recognized” Reserve Banks’ unfettered discretion over master

accounts in an amendment to the Federal Reserve Act (the “Amendment”). Board Br. at 12. This

is incorrect. As aptly put by Senator Toomey, the sponsor and principal drafter of the Amendment,

Defendants’ claim “misconstrues the Amendment as recognizing or bolstering their discretion to

reject master account applications from statutorily eligible depository institutions. As its text



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makes clear—and as the Board knows from conversations with legislative staff during its

drafting—the Amendment was exclusively a transparency measure. . . .” Br. of Former Sen.

Patrick J. Toomy as Amicus Curiae in Supp. of Neither Party, Custodia, No. 1:22-cv-00125-SWS,

(D. Wyo. Apr. 20, 2023), ECF No. 151 at 2–3. Senator Toomey has since explained that:

       Knowing that [Reserve Banks] did, in fact, approve some [master account
       applications], deny others, sometimes reverse themselves . . . I simply wanted them
       to be required to disclose this . . . [Defendants’ interpretation here reflects] a willful
       refusal to read the English language as it’s written.

Kyle Campbell, Judge Rules Against Custodia in Fed Master Account Case, American Banker

(Apr. 1,    2024),   https://www.americanbanker.com/news/judge-rules-against-custodia-in-fed-

master-account-

case#:~:text=A%20Wyoming%2Dbased%20federal%20judge,whether%20those%20application

s%20were%20granted%2C. That Congress recognized that the Defendants were (unlawfully)

rejecting master account applications and sought transparency hardly constitutes congressional

endorsement of that unlawful practice.

       Even if the Amendment were deemed relevant to the question of whether Defendants hold

discretion over master account and Federal Reserve service access, the plain text of the

Amendment supports BSJI’s right to a master account. Section 5708 of the Amendment provides

a definition for “Reserve bank master account and services,” the sole congressional statute to do

so. That provision defines master accounts by reference to Section 248a, not Section 342. P.L.

117-263 § 5708(a)(3) (“Reserve bank master account and services – The term ‘reserve bank master

account and services’ means an account in which a Federal reserve bank . . . provides any service

under section [248a] to an entity other than an official accountholder.”). Far from supporting

Defendants’ claim to discretion, the Amendment evidences that Section 248a, a mandate to Federal




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Reserve services access—and thus a master account—for all nonmember depository institutions,

controls here.

            G. BSJI Has Adequately Pled Its Claim Under the Mandamus Act

        With BSJI’s right to a master account and Federal Reserve services established, it readily

follows that BSJI has properly alleged a claim under the Mandamus Act. To establish a claim for

a writ of mandamus under 28 U.S.C. § 1361, a plaintiff must allege: “(1) a clear right in the plaintiff

to the relief sought; (2) a plainly defined and peremptory duty on the part of the defendant to do

the act in question; and (3) no other adequate remedy available.” Anderson v. Bowen, 881 F.2d 1,

5 (2d Cir. 1989). The first two criteria are satisfied: BSJI has a statutory right to access Federal

Reserve services through a master account, and Defendants are obligated to provide BSJI with

such access. The Amended Complaint also details BSJI’s lack of an alternative adequate remedy,

given its unsuccessful efforts both to reach an amicable resolution with the FRBNY or be afforded

any administrative right of appeal of the termination decision. Am. Compl. ¶¶ 170, 179. BSJI’s

mandamus claim should proceed.

            H. BSJI Has Adequately Pled Its Mandamus Act Claim

        The sufficiency of BSJI’s due process claim flows from BSJI’s entitlement to a master

account and Federal Reserve services. The Due Process clause prohibits government actors from

depriving property by means of a process “so standardless than it invites arbitrary enforcement.”

Beckles v. United States, 137 S. Ct. 886, 892 (2017). A violation of a plaintiff’s Due Process right

is established where it is alleged that: (1) state action (2) deprived him or her of liberty or property

(3) without due process of law. Barrows v. Burwell, 777 F.3d 106, 113 (2d Cir. 2015). BSJI’s

claim meets this criteria.

        BSJI’s right to a master account and federal reserve services establishes a protectable

property interest for purposes of a due process claim. Courts consistently recognize that statutes like

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§ 248a(c)(2), which “place[] substantive limitations on official discretion . . . [generally] by

establishing substantive predicates to govern official decision-making, and []by mandating the

outcome to be reached upon a finding that the relevant criteria have been met,” create a protected

property interest on the statutory entitlement. Ky. Dep’t of Corr. v. Thompson, 490 U.S. 454, 462

(1989) (internal quotations and citation omitted); Kapps v. Wing, 404 F.3d 105, 113 (2d Cir. 2005)

(“To [the] extent that state or federal law meaningfully channels the discretion of state or local

officials by mandating an award of [a statutory entitlement] to applicants who satisfy prescribed

eligibility criteria, plaintiff-applicants possess a property interest.”) (internal quotations omitted).

BSJI therefore has a protectable property interest in its master account.

       As government entities and/or administrative units, Defendants terminated BSJI’s master

account, which constituted state action depriving BSJI of its property right. Kapps, 404 F.3d at 112–

13. And as discussed below (see infra Section II.D), Defendants’ decision to strip BSJI of its access

to the U.S. financial system—exemplified by the FRBNY’s decision to ignore BSJI’s requests for

guidance as to BSJI’s reporting deadlines, its silence in the face of BSJI’s pleas for an open line of

communication, its varying and pretextual justifications for shuttering BSJI’s master account, and

its refusal to provide BSJI with a meaningful opportunity to address any of the FRBNY’s purported

concerns—epitomized a lack of due process. BSJI has accordingly alleged a claim under the Due

Process Clause.

            I. BSJI Has Adequately Pled Its Declaratory Judgment Claim

        BSJI’s entitlement to Federal Reserve services and master account access also militates

against the dismissal of its Declaratory Judgment Act claim. Defendants posit that this claim lacks

the requisite independent basis for jurisdiction (Board Br. at 22; FRBNY Br. at 17–18). BSJI has

adequately alleged claims under both the Mandamus Act and the Administrative Procedure Act.

Each serves as an independent basis for jurisdiction and forecloses the dismissal of BSJI’s claim at
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this juncture. See Litvin v. Chertoff, 586 F. Supp. 2d 9, 11 n.11 (D. Mass. 2008) (denying motion to

dismiss declaratory judgment claim “when subject matter jurisdiction is satisfied under the APA and

the [M]andamus [A]ct”). Moreover, as BSJI has requested a declaration of its right to a master

account going forward, Defendants’ contention that the Declaratory Judgment claim is purely

retrospective lacks merit.

   II.      BSJI HAS SUFFICIENTLY ALLEGED ITS CLAIMS FOR BREACH OF THE
            DUTY OF CARE AND THE AND THE IMPLIED COVENANT DUTY OF
            GOOD FAITH AND FAIR DEALING

         Even if this Court were to conclude that the governing statutory scheme authorizes the

Board and the FRBNY to exercise a degree of discretion concerning master account and Federal

Reserve services access, that discretion is not unbounded. Rather, it is circumscribed both by the

contractual Duty of Care found in Operating Circular No. 1—a contract that memorializes

regulations imposed on the FRBNY by the Board, and which the FRBNY requires all depository

institutions seeking a master account to sign—and by the implied covenant of good faith and fair

dealing arising under New York law.

            A. Under Operating Circular No. 1’s Duty of Care, the FRBNY Was
               Contractually Obligated to Act in Good Faith and with Care Towards BSJI

         Section 7.1 of Operating Circular No. 1, titled “Duty of Care,” obligates the FRBNY to act

“in good faith” as well to “exercise ordinary care,” and imposes liability for actual damages

incurred due to the FRBNY’s failure to act accordingly. Id. Yet the FRBNY contends that this

provision strictly operates as a limitation of liability and does not impose any affirmative duty.

This is a non-sequitur. For the provision to operate as a partial limitation of the FRBNY’s liability

in the event of a breach of contract—here, to “actual damages incurred . . . and proximately caused

by the Reserve Bank’s lack of good faith and failure to exercise ordinary care”—the contract must

necessarily establish that such actions constitute a breach of contract in the first place. Section 7.1


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is the exclusive provision addressing the FRBNY’s obligation to act with good faith and to exercise

ordinary care, and the plain language of the contract makes clear that these obligations comprise

the FRBNY’s “Duty of Care.” A contract provision can do two things: it can establish an

affirmative duty owed to the contractual counterparty, and it can also circumscribe the scope of

liability for a breach of said duty. That is precisely what Section 7.1 accomplishes.

       The FRBNY’s own governing regulations validate the point. 12 C.F.R. § 210.6 imposes a

statute of limitations for claims against a Reserve Bank for its lack of good faith or failure to

exercise ordinary care, mandating that such claims must be brought within two years of the accrual

of such claims. Id. Plainly, if the FRBNY’s contention that it did not owe BSJI a duty of care

were correct, there would be no need for a statute of limitations defining the time within which

such a claim must be brought.

       The FRBNY likewise cannot wave away the duty of care owed by claiming that BSJI

waived its contractual claim given Operating Circular No. 1’s “unqualified contractual right to

close BSJI’s master account.” FRBNY Br. at 20, see Operating Circular No. 1, § 2.10 (asserting

that a Reserve Bank may terminate a Master Account Agreement “at any time by notice”). In

support of the proposition that “unqualified” waivers are legal, the FRBNY furnishes cases under

New York state law that the FRBNY claims enforced waivers similar to that contained in

Operating Circular No. 1.

       However, New York law does not supply the relevant standards with respect to the issue

of waiver, as it “is well established that federal law governs all questions relating to the validity of

and defenses to purported releases of federal statutory causes of action.” Locafrance U.S. Corp.

v. Intermodal Sys. Leasing, Inc., 558 F.2d 1113, 1115 (2d Cir. 1977); see Rivera v. N.Y. City Dep’t

of Educ., No. 21-cv-6134 (ENV) (TAM), 2023 WL 2563665, at *7 n.12 (E.D.N.Y. Feb. 3, 2023)



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(applying Locafrance to a purported waiver of rights). Under binding Supreme Court law,

“prospective waivers of statutory rights are impermissible.” Cedeno v. Argent Tr. Co., No. 20-cv-

9987 (JGK), 2021 WL 5087898, at *5 (S.D.N.Y. Nov. 2, 2021). “Prospective waivers” are waivers

that exist prior to the accrual of a cause of action. Alexander v. Gardner-Denver Co., 415 U.S. 36,

52 (1974) (holding that while a plaintiff “may waive his cause of action” concerning a statutory

right in a “voluntarily settlement,” that right “may not be waived prospectively”). Given that

BSJI’s claim for breach of contract did not accrue until 2023—more than a decade after BSJI

executed Operating Circular No. 1, and three years after BSJI entered into the Supplemental

Terms—the FRBNY’s efforts to prospectively contract away BSJI’s rights are improper, and

Operating Circular No. 1’s waiver is void as against public policy. See B’klyn Sav. Bank v. O’Neil,

324 U.S. 697, 704 (1945) (finding waivers of statutory rights that thwart legislative policy invalid).

       The FRBNY’s assertion that its “unqualified contractual right” to terminate BSJI’s master

account vitiates Operating Circular No. 1’s duty of care fails for a second and independent reason.

Even where a contract purports to provide a party with unqualified discretion—here, the asserted

ability to terminate the contract without cause, at any point—that discretion cannot be exercised

in bad faith. Legend Autorama, Ltd. v Audi of Am., Inc., 100 A.D.3d 714, 716 (N.Y. App. Div. 2d

Dep’t 2012) (“[E]ven an explicitly discretionary contract right may not be exercised in bad faith

so as to frustrate the other party’s right to the benefit under the agreement.”); see Ahmed Elkoulily,

M.D., P.C. v. N.Y. State Cath. Healthplan, Inc., 153 A.D.3d 768, 770, 61 N.Y.S.3d 83 (N.Y. App.

Div. 2d Dep’t 2017) (applying the Legend doctrine to a breach of contract claim concerning a

wholly discretionary, but bad-faith, contract termination and affirming denial of motion to

dismiss). For “[a]ll parts of a contract must be read in harmony [] so as not to negate” an express

contractual provision. Bombay Realty Corp. v. Magna Carta, Inc., 100 N.Y.2d 124, 127 (2003).



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The FRBNY’s efforts to vitiate its duty of care through the contract’s termination provision should

be rejected.

           B. Operating Circular No. 1 Subjects FRBNY to the Implied Covenant of Good
              Faith and Fair Dealing

       New York law implies into every contract a “covenant of good faith and fair dealing,

‘pursuant to which neither party to a contract shall do anything which has the effect of destroying

or injuring the right of the other party to receive the fruits of the contract.’” Thyroff v. Nationwide

Mut. Ins. Co., 460 F.3d 400, 407 (2d Cir. 2006) (quoting M/A–COM Sec. Corp. v. Galesi, 904 F.2d

134, 136 (2d Cir. 1990)). “A party’s actions may implicate the implied covenant of good faith

when it acts so directly to impair the value of the contract for another party that it may be assumed

that they are inconsistent with the intent of the parties.” Bank of China v. Chan, 937 F.2d 780, 789

(2d Cir. 1991) (citing M/A–COM Sec. Corp., 904 F.2d at 136). “The covenant protects a promisee

not against a breach of the express terms of a contract but of the reasonable expectations and

inferences otherwise derived from the agreement.” TVT Records v. Island Def Jam Music Grp.,

244 F. Supp. 2d 263, 278 (S.D.N.Y. 2003) (citation omitted). The parties do not dispute that New

York law governs Operating Circular No. 1, and the FRBNY is consequently subject to the implied

covenant of good faith and fair dealing.

       As with BSJI’s breach of contract claim under the duty of care, the FRBNY contends that

its contractual right to close BSJI’s account “at any time” trumps its obligation to act in good faith

and fair dealing. Again, this is incorrect: even when a party is granted “unqualified” discretion

under the terms of a contract, that discretion is subordinated to the duty of good faith and fair

dealing. Legend Autorama, Ltd., 100 A.D.3d at 716. While the FRBNY cites cases purporting to

hold the contrary, these decisions—issued over twenty-five years ago—fail to reflect the current

status of New York law, as ensuing opinions by the same courts demonstrate. Id. (subjecting an


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unqualified discretionary term to the covenant of good faith and fair dealing in 2012); Ahmed

Elkoulily (same, in 2017); see also In Touch Concepts, Inc. v. Cellco P’ship, 949 F. Supp. 2d 447,

468 (S.D.N.Y. 2013), aff’d, 788 F.3d 98 (2d Cir. 2015) (recognizing that New York courts have

“expanded the use of the implied covenant of good faith . . . holding that a contractual right

affording discretion may not be exercised in bad faith” and requiring a contract to “express[ly]

defin[e] when discretion may or may not be exercised” for that covenant to be negated).

       The FRBNY also insists that the claim for breach of the implied covenant of good faith

and fair dealing should be dismissed as duplicative of BSJI’s claim for breach of the duty of care.

This assertion comes too early: at the pleading stage, it is eminently appropriate to allege a breach

of contract and a breach of the implied covenant of good faith and fair dealing in the alternative.

Fantozzi v. Axsys Techs., Inc., No. 07-cv-2667 (LMM), 2008 WL 4866054, at *7 (S.D.N.Y. Nov.

6, 2008) (recognizing that “[a] claim for breach of contract does not preclude a party from bringing

a claim for breach of the implied covenant of good faith and fair dealing when they are brought in

the alternative,” as a claimant is later prohibited “from recovering on both theories at the same

time”). In any event, the FRBNY has taken the position that Operating Circular No. 1 contains no

affirmative duty of care, thus creating a “bona fide dispute over whether a contract covers the

contested issue.” LCM XXII Ltd. v. Serta Simmons Bedding, LLC, No. 21-cv-3987 (KPF), 2022

WL 953109, at *15 (S.D.N.Y. Mar. 29, 2022). On a motion to dismiss, a court “must resolve all

ambiguities in the contract in Plaintiffs’ favor,” and the purported absence of a contractual duty of

care does not serve as the basis for dismissal of BSJI’s claims. Serdarevic v. Centex Homes, LLC,

760 F. Supp. 2d 322, 328 (S.D.N.Y. 2010).




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           C. Breach of Contract Claims Concerning a Lack of Good Faith and the Failure
              to Exercise Care Implicate Fact-Specific Questions Unsuitable for Resolution
              on a Motion to Dismiss

   “[W]hether a party to a contract has acted in good faith generally presents a question of fact

for a jury.” Phoenix Light SF Ltd. v. Deutsche Bank Nat’l Trust Co., 585 F. Supp. 3d 540, 493 n.44

(S.D.N.Y 2022) (quoting Bank of N.Y. Mellon Tr. Co., Nat’l Ass’n v. Telos CLO 1006-1 Ltd., 274

F. Supp. 3d 191, 215 (S.D.N.Y. 2017)); Tractebel Energy Mrktg., Inc. v. AEP Power Mrktg., Inc.,

487 F.3d 89, 98 (2d Cir. 2007) (“[W]hether particular conduct violates or is consistent with the

duty of good faith and fair dealing necessarily depends upon the facts of the particular case, and is

ordinarily a question of fact to be determined by the jury or other finder of fact.”). Consequently,

claims that are based on a defendant’s lack of good faith and due care are “not suitable for

resolution on a motion to dismiss” where the plaintiff plausibly alleges specific conduct from

which a contractual breach could be inferred. EIG Credit Mgmt. Co., LLC v. CNX Res. Corp.,

No. 20-cv-2887 (AJN), 2021 WL 1226415, at *7 (S.D.N.Y. Mar. 31, 2021) (denying motion to

dismiss claim based on defendant’s alleged lack of good faith) (internal citations omitted). The

Amended Complaint readily meets this lenient standard.

           D. The Amended Complaint Sufficiently Alleges That the FRBNY Breached Its
              Contractual Duty of Care and the Implied Covenant of Good Faith and Fair
              Dealing

       Taken holistically, the Amended Complaint comprehensively alleges a bad-faith scheme

by the FRBNY to deprive BSJI of its master account, in violation of its contractual duty of care—

which requires that the FRBNY comport itself in good faith—and the implied covenant of good

faith and fair dealing. See Ahmed Elkoulily, M.D., P.C. v. N.Y. State Cath. Healthplan, Inc., 153

A.D.3d 768, 771, 61 N.Y.S.3d 83, 87 (2017) (“[T]o sustain a breach of the implied covenant claim,

the claimant must allege and show that the other party exercised a [contractual] right malevolently,



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for its own gain as a part of a purposeful scheme designed to deprive [claimant] of the benefits

under the contract.”).

       As laid out in the Amended Complaint, the seeds of the FRBNY’s bad-faith scheme against

BSJI were first planted in 2019, when the FRBNY implemented a policy that halted the approval

of any master account applications from Puerto Rican depository institutions, like BSJI, regardless

of an individual depository institution’s compliance functions or risk profile. Am. Compl. ¶ 12.

The implementation of that policy likewise coincided with the first adverse action the FRBNY

would take against BSJI: the suspension of its master accounts based on media reports concerning

an ongoing investigation into two loan facilities granted by BSJI. Id. ¶ 71. Though this suspension

was wholly without merit—the investigation uncovered no wrongdoing—BSJI was determined to

earn the FRBNY’s trust. As such, in the ensuing years and at the behest of the FRBNY, BSJI

engaged in a years-long, multi-million-dollar effort to develop a leading BSA/AML compliance

program, one that would serve as a model to other IBEs in the years to come. At every step of the

way BSJI worked with the FRBNY to both continually enhance its compliance program and to

assure it that BSJI had never facilitated illegal activity. Id. ¶¶ 75–84. These efforts proved

successful: BSJI built its compliance function into a top-tier system that was endorsed by the

FRBNY, which provided BSJI with access to its master account once again. Id. ¶¶ 87–88. Indeed,

the FRBNY went so far as to adopt some of BSJI’s practices, like the use of credential third parties

blessed by the FRBNY as independent examiners, in subsequently promulgated guidelines. Id. ¶

92.

       After BSJI had spent millions of dollars at the encouragement of the FRBNY, and after the

FRBNY blessed BSJI’s compliance program, the FRBNY adopted an internal policy to deprive

IBEs and novel banks’ access to Federal Reserve services. Am. Compl. ¶ 14–16. In 2022, after



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certain FRBNY reporting deadlines were changed in light of the COVID pandemic, BSJI twice

sought, in writing, confirmation from the FRBNY that BSJI could file certain annual reports by

September 30, 2022. Searching for an excuse to close BSJI’s master account, the FRBNY willfully

ignored both of BSJI’s correspondence. Id. ¶¶ 97–102. It chose instead to lie in wait and predicate

its first closure decision, communicated by letter dated July 18, 2022, on a purported missed

“deadline” for those annual reports. Id. ¶¶ 106–111. Not only was closure an overreaction to a

missed deadline, especially since the reports were then in progress by the FRBNY-approved

auditors, but it was a crisis of the FRBNY’s own making, because the FRBNY could have avoided

any confusion if it had only responded to either of BSJI’s inquiries. Only after BSJI advised the

FRBNY that it intended to bring litigation that the FRBNY relented, and advised that it would

“pause” its termination decision. Id. ¶¶ 112–14.

       The FRBNY then went in search of new, pretextual grounds for its closure decision. Id.

Am. Compl. ¶ 115–16. The FRBNY sent to BSJI a Request for Information to BSJI. BSJI,

continually seeking to maintain a productive and working relationship with the FRBNY, timely

provided the requested information and pleaded with the FRBNY to raise any questions or

concerns it had, so that they could be addressed by BSJI. Id. ¶ 115. After months of silence from

the FRBNY, BSJI again asked for an open line of communication with the FRBNY. This too went

unanswered, and the FRBNY steadfastly refused to speak with BSJI while it concocted a new

pretextual justification for shuttering BSJI’s master account. Id. ¶¶ 117–18. This plan was

undertaken in concert with the Board who, unbeknownst to BSJI, issued “S-2677,” a guidance

memorandum to the Federal Reserve banks that instructed the FRBNY to both heavily scrutinize

Tier 3 institutions, like BSJI, that the Board arbitrarily chose to characterize as inherently “high

risk,” and to coordinate with the FRBNY when deciding to terminate a master account. Id. ¶ 120.



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The FRBNY acted swiftly. In April 2024, and once again without any preceding communication,

the FRBNY issued a second account termination letter, just as baseless as the first. In this letter,

the FRBNY rejected the findings of BSJI’s on-the-ground auditor, K2 Integrity (and the

conclusions of two other auditors and, for that matter, of BSJI’s regulator) that BSJI’s compliance

program was comprehensive and effective. In doing so, and because K2 Integrity’s conclusion

demonstrated the bad faith nature of the FRBNY’s efforts to close BSJI’s master account, the

FRBNY baselessly recharacterized certain enhancements K2 Integrity had recommended as

“deficiencies.” Id. ¶¶ 121–141. Bafflingly, the FRBNY did so without ever contacting K2

Integrity, violating its own custom of dialoguing with depository institutions’ auditors when the

FRBNY was conducting an assessment. Had the FRBNY been acting in good faith and according

to its own historical practices, it would have engaged with K2 Integrity to identify, and resolve,

the source of their disagreement concerning BSJI’s compliance program. Id. ¶¶ 124–27. Nor

would they have asserted that BSJI poses an “undue risk to the overall economy,” an absurd

conclusion given the fact that of the fact that the entirety of BSJI’s transaction volume over the

preceding year represented 0.000125 percent of the gross domestic product (“GDP”) of the United

States and only 0.000032 percent of the GDP of the world. Id. ¶¶ 7, 141. And most tellingly, at

no point has the FRBNY ever identified a single illicit transaction engaged in by BSJI: it has

shuttered its master account based on the conjectural, and patently incorrect, notion that BSJI poses

a theoretical risk to the U.S. economy overall. Id. ¶ 131. Moreover, the unprecedented nature of

the FRBNY’s bad faith behavior towards BSJI has been affirmed by multiple independent banking

experts, who have attested that “the FRBNY’s mistreatment of BSJI to be among the worst that I

have seen in the industry” (Id. ¶ 162) and that the FRBNY’s review and assessment of BSJI “was

superficial and lacked objectivity.” Id. ¶ 163; see also id. ¶¶ 135, 159–161.



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          Compare Defendants’ treatment of BSJI to that of far larger banks that have actually been

found liable for illicit activity. As one example, Deutsche Bank, was simply subjected to a fine in

July 2023 despite a determination that it had engaged in “unsafe and unsound” anti-money

laundering practices for over eight years: its master account was left fully intact. So too was the

Metropolitan Commercial Bank of New York allowed to maintain its master account after a

finding of “widespread fraud” due to its failure to maintain an adequate anti-money laundering

compliance program: it was likewise simply subject to a fine. Id. ¶ 144. The FRBNY’s draconian

treatment of BSJI, an institution that by any measure poses exponentially less risk to the U.S.

economy than these global institutions, amply demonstrates that the FRBNY acted in bad faith in

terminating BSJI’s master account. To extent the Board seeks to avoid such comparison by

analogizing its authority to the presumptively unreviewable discretion of a prosecutor (Board Br.

at 23), the claim is both inapt and inaccurate. The presumption of unreviewability applies only to

decisions to not take enforcement action, whereas the Board brought enforcement actions against

both Deutsche Bank and Metropolitan Commercial Bank of New York. Heckler v. Chaney, 470

U.S. 821, 832 (1985).

   III.      BSJI HAS ADEQUATELY ALLEGED                           CLAIMS        UNDER        THE
             ADMINISTRATIVE PROCEDURE ACT

          Any discretion Defendants hold over master account access is also circumscribed by their

obligations under the Administrative Procedure Act. Under the APA, courts are directed to “hold

unlawful and set aside agency action” found to be “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).         The APA thus “establishes a

scheme of ‘reasoned decisionmaking’” by which agencies must abide. Allentown Mack Sales &

Serv., Inc., 522 U.S. at 374 (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 52 (1983)). As agencies, both the Board and the FRBNY are subject to scrutiny under


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these standards. The Amended Complaint comprehensively alleges that the decision to close

BSJI’s master account, and the process which led to that action, were wholly antithetical to the

“reasonable decisionmaking” required by the APA. Id.

           A. Defendants are Agencies for Purposes of the Administrative Procedure Act

       The Administrative Procedure Act (“APA”) defines an agency as “each authority of the

Government of the United States, whether or not it is within or subject to review by another

agency.” 5 U.S.C. § 551(1); id. 701(b)(1). The Board acknowledges that it meets this definition

and is subject to APA review. The FRBNY, despite claiming the mantle of congressionally-

delegated and unchecked “authority” over depository institutions’ access to the U.S. financial

system, asserts that it is immune from APA scrutiny as a matter of law. FRBNY Br. at 15. Not

so.

       This Circuit has recognized that “law on the simple question of what is an [APA] agency

is quite complex.” New York v. Atl. States Marine Fisheries Comm’n, 609 F.3d 524, 531 (2d Cir.

2010) (quoting McKinney v. Caldera, 141 F. Supp. 2d 25, 31 (D.D.C. 2001)). As such, when

assessing whether an administrative unit is an APA agency, courts eschew a formalistic assessment

in favor of a fact-specific examination of the “structure, function, and mandate” of an

administrative entity potentially subject APA review. Id. at 531 (quoting McKinney, 141 F. Supp.

2d at 31). Of particular importance to this analysis is whether the administrative unit exercises

“substantial independent authority” to “take final and binding action affecting the rights and

obligations of individuals.” Dong v. Smithsonian Inst., 125 F.3d 877, 881–82 (D.C. Cir. 1997)

(cleaned up).

       Consequently, administrative entities that exercise final decision-making power based on

a congressional delegation of authority are deemed agencies for purposes of the APA. See Soucie

v. David, 448 F.2d I 067, I 073 (D.C. Cir. 1971) (deeming the Office of Science and Technology
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an APA agency given that it performs the nonadvisory “function of evaluating federal programs”);

Grumman Aircraft Eng’g Corp. v. Renegotiation Bd., 482 F.2d 710, 714–15 (D.C. Cir. 1973),

rev’d on other grounds, 421 U.S. 168 (1975) (finding “Regional Boards” APA agencies, despite

being a subsidiary unit of the Renegotiation Board, because they were “empowered to make final

decisions not even reviewable by the [Renegotiation] Board”). Conversely, administrative units

that do not derive their power from the federal government, or that exercise only advisory

functions, have been found to not be subject to APA review. Marine Fisheries, 609 F.3d at 531

(foreclosing APA review for interstate compacts that derived their powers from the states, not

Congress); Armstrong v. Exec. Off. of the President, 90 F.3d 553, 558 (D.C. Cir. 1996) (rejecting

APA claim where administrative unit acted only in an advisory function).

       The FRBNY’s assertion of unchecked authority over master account access squarely aligns

with an agency’s “exercise of substantial independent authority” to take “take final and binding

action” giving rise to APA review. And the weight of caselaw validates this fact. See Lee Constr.

Co. v. Fed. Rsrv. Bank of Richmond, 558 F. Supp. 165, 179 (D. Md. 1982) (“a consideration of

each and every one of the relevant factors tips the balance in favor of holding that the Bank is an

‘agency’ for purposes of judicial review under the APA”); Flight Int’l Grp., Inc. v. Fed. Rsrv. Bank

of Chi., 583 F. Supp. 674, 678 (N.D. Ga. 1984) (“There can be no doubt that the Federal Reserve

bank of Chicago is an ‘authority’ of the government of the United States. As a member bank of

the Federal Reserve System, it performs important governmental functions and exercises powers

entrusted to it by the United States government.”), vacated on other grounds, 597 F. Supp. 462

(N.D. Ga. 1984). As such, both the Board and the FRBNY are agencies for purposes of subject

matter jurisdiction over BSJI’s APA claim.




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           B. Judicially Manageable Standards Exist by Which This Court Can Adjudicate
              BSJI’s APA Claim

       Defendants err in their assertion that APA review is unavailable because their master

account decisions are allegedly “committed to agency discretion by law.” FRBNY Br. 11–12;

Board Br. at 14–15.

       To start, the Supreme Court, in Citizens to Preserve Overton Park v. Volpe, makes clear

that agency actions are presumptively reviewable and that decisions “committed to agency

discretion” are but a “very narrow” exception to this rule. 401 U.S. 402 (1971); Westchester v.

U.S. Dep’t of Hous. and Urban Dev., 778 F.3d 412, 418 (2d Cir. 2015) (recognizing the same and

that “[u]nder the APA, a party aggrieved by agency action is entitled to judicial review thereof”)

(internal citied); see generally Bowen v. Massachusetts, 487 U.S. 879, 908 n.46 (1988) (“[J]udicial

review promotes fidelity to statutory requirements, and, when congressional intent is ambiguous,

it increases the likelihood that the regulatory process will be a responsible exercise of discretion.”)

(internal quotations and citation omitted). Notwithstanding congressional sensitivity that all banks

be afforded Federal Reserve services, Defendants assert that their master account decision-making

is unreviewable and fits this “very narrow” exception because, they say, the Federal Reserve Act

does not explicitly identify standards upon which to assess a master account closure decision. In

so doing, Defendants ignore that an agency’s “regulations . . . and informal agency guidance” can

serve to set the contours of an agency’s discretion, even if the statute otherwise provides none.

Salazar v. King, 822 F.3d 61, 76 (2d Cir. 2016).

       The Board and the FRBNY both assert that the decision to terminate BSJI’s master account

was made pursuant to the Guidelines for Evaluating Account and Services Requests (the

“Guidelines”)—formal regulations promulgated through the notice-and-comment process—and S-

Letter 2677, informal regulations mandating that actions taken by Reserve Banks be made in


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consultation with the Board. These regulations and guidelines readily provide this Court with

“judicially manageable standards” for assessing Defendants’ decision to terminate BSJI’s master

account.

             C. Defendants’ Historical Interpretation of the Monetary Control Act Forecloses
                the Application of Deference to Their Termination Decision

         The FRBNY contends that this Court’s review of Plaintiffs’ allegations concerning the

decision to terminate BSJI’s master account should be “highly deferential and [would] presume

the agency’s action to be valid.” FRBNY Br. at 19. Black-letter law proves this wrong. 1 Even

under the Chevron doctrine, where an agency’s current interpretation of a statute “conflicts with

the agency’s earlier interpretation,” the agency’s action is entitled to “considerably less”

deference—if any—than it otherwise would be. INS v. Cardoza-Fonseca, 480 U.S. 421, 446 n.30,

(1987); see also Connecticut ex rel. Blumenthal v. U.S. Dep’t of Interior, 228 F.3d 82, 93 (2d Cir.

2000) (“Plaintiffs are correct that an agency interpretation at odds with an earlier position taken

by the agency is entitled to less deference than we generally accord under Chevron.”); N.Y. City

Health and Hosps. Corp. v. Perales, 954 F.2d 854, 861 (2d Cir. 1992) (“[W]here [an agency’s]

policy is inconsistent with an earlier policy, that inconsistency is a ground for rejecting a claim for

deference.”).

         Relying on specific statements of both the Board and the FRBNY, BSJI alleges that

Defendants had for decades interpreted the Monetary Control Act as providing a nondiscretionary

right to Federal Reserve services. Am. Compl. ¶ 57. BSJI likewise alleges that the interpretation



1
    The Supreme Court is expected to elucidate on the concept of deference to agency interpretation

of its own statutory powers by the end of the October 2023 term. See Loper Bright Enters. v.

Raimondo, 143 S. Ct. 2429 (2023).


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of the governing statutory regime asserted by Defendants in this litigation is a recent, mutually

exclusive change in position, an allegation that has been validated by both the current United States

Senate Banking Committee and the United States House of Representatives Financial Services

Committee. Id. ¶ 68; see id. at 10, 58. In light of these well-pled allegations, at the motion to

dismiss stage, Defendants are not owed the deference they claim. 2

             D. The Amended Complaint Adequately Alleges That Defendants Acted
                Arbitrarily and Capriciously in Terminating BSJI’s Master Account

          The FRBNY purports to have closed BSJI’s master account in accordance with Principle

5 of the Guidelines (FRBNY Br. at 8), which states “that Provision of an account and services to

an institution should not create undue risk to the overall economy by facilitating activities such as

money laundering, terrorism financing, fraud, cybercrimes, economic or trade sanctions violations,

or other illicit activity.” (emphasis added). But as BSJI has alleged and as discussed above in detail

(see supra Section II.D), despite a years-long campaign the FRBNY has not identified a single

transaction that “facilitat[ed] activities such as money laundering”; even now, the FRBNY merely

claims that certain transactions raised “red flags”, not that they actually facilitated illicit activity.

A decision based on this sort of unsupported conjecture is precisely the kind of agency action that

the APA prohibits. See State Farm, 463 U.S. at 42–43 (explaining agency action is arbitrary and



2
    To the extent the Board invokes alleged historical examples of it claiming discretion over access

to Federal Reserve services and master accounts (Board Br. at 4–5), these are plainly “factual

arguments that this Court cannot consider on a motion to dismiss.” IMG Fragrance Brands, LLC

v. Houbigant, Inc., 679 F. Supp. 2d 395, 412 (S.D.N.Y. 2009). And in any event, the bulk of the

Board’s examples precede the enactment of the Monetary Control Act, from which BSJI’s right to

a master account and Federal Reserve services access arises.


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capricious if it is not based on “reasoned analysis” that indicates the agency “examine[d] the

relevant data and articulate[d] a satisfactory explanation for its action including a rational

connection between the facts found and the choice made” (citation and internal quotation marks

omitted)); McDonnell Douglas Corp. v. U.S. Dep’t of the Air Force, 375 F.3d 1182, 1187 (D.C.

Cir. 2004) (stating that a court will “not defer to [an] agency’s conclusory or unsupported

suppositions”); City of Brookings Mun. Tel. Co. v. FCC, 822 F.2d 1153, 1169 & n.46 (D.C. Cir.

1987) (noting “an agency has a duty to consider responsible alternatives to its chosen policy and

to give a reasoned explanation for its rejection of such alternatives,” and observing “that the failure

of an agency to consider obvious alternatives has led uniformly to reversal” (citations and internal

quotation marks omitted)).

         In any event, whether the agency acted “arbitrarily” or “capriciously” is a factual

determination that will require, among other things, testimony from AML RightSource, which

found the transactions in question perfectly legitimate based on the diligence that the FRBNY

should have performed, (Am. Compl. ¶ 128) and the cross examination of FRBNY witnesses.

BSJI has adequately stated claims against Defendants under the APA.

   IV.      BSJI HAS STANDING TO PURSUE ITS CLAIMS AGAINST THE BOARD

         The Board contends that this Court lacks subject matter jurisdiction over BSJI’s claims

against it because it cannot show an injury “fairly traceable to the challenged conduct” of the

Board, nor that BSJI will be “redressed by a favorable judicial decision.” Board Br. at 10. The

Board bases this assertion on the incorrect notion that Section 342 vests Reserve Banks with

exclusive and unchecked discretion over master account access, and a series of factual arguments

concerning the breadth of its authority and involvement in the termination decision that are

inappropriate for resolution on a motion to dismiss. Id. at 11–13; see IMG Fragrance Brands,

LLC, 679 F. Supp. 2d at 415.
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       Defendants filed a Motion to Dismiss, not a Motion for Summary Judgment. As a

consequence, BSJI’s detailed allegations concerning the Board’s role in the termination decision—

which are to be accepted as true at the motion to dismiss stage—readily establish the requisite

predicate for standing. In any event, the FRBNY operates under the general supervision authority

of the Board and can exercise only that authority delegated to it by the Board. Am. Compl. ¶ 150.

Though in contravention of statutory law, it was the Board’s delegation of its purported

“discretion” over master account access that enabled the FRBNY to take action against BSJI in

the first instance. Likewise, the Board has issued guidance to the Federal Reserve banks, including

the FRBNY, which directs them to scrutinize Tier 3 institutions, like BSJI, in a manner that BSJI

understands has resulted in no Tier 3 institution being granted a master account since the guidance

was issued. This guidance, memorialized in Board’s S-2677 Memorandum, mandated the FRBNY

to consult with the Board when deciding to terminate BSJI’s master account, and the FRBNY did

so. Id. ¶¶ 151–55. That the Board may have validated the FRBNY’s decision absent any

substantive inquiry does not support the notion that BSJI’s injury is not “fairly traceable” to the

Board: to the contrary, it demonstrates that the Board had the specific opportunity to protect BSJI

from the FRBNY’s improper act, and the ensuing injuries BSJI has suffered, but failed to do so.

After all, if the Board had objected, there is no basis to believe that the FRBNY would have gone

forward with termination.

       The contention that BSJI would not be redressed by a finding in favor of BSJI’s claims

against the Board also misses the mark. As the Board is mandated by Congress to supervise the

FRBNY, it necessarily follows that the Board exercise those supervisory authorities to prohibit

acts in violation of statutory law. Neurological Surgery Prac. of Long Island, PLLC v. United

States H.H.S., No. 23-cv-02977 (BMC), 2023 U.S. Dist. LEXIS 122757, at *12 (E.D.N.Y. July



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16, 2023) (“Defendants contend that plaintiff has been harmed not by any conduct on the part of

the agencies, but by the failure of (entities supervised by defendant agencies) to comply with

statutory directives. But indirect injury is not fatal to standing so long as a plaintiff demonstrates

a causal nexus between the alleged injuries and the defendants’ conduct — and plaintiff has made

that showing here.”). BSJI has adequately alleged standing against the Board, and its claims should

be allowed to proceed.

                                          CONCLUSION

       For the foregoing reasons, BSJI respectfully requests that this Court deny Defendants’

respective motions to dismiss.




Dated: April 12, 2024                          By:    /s/ Abbe David Lowell

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                                CERTIFICATE OF COMPLIANCE

       In accordance with Section II.D of the Court’s Individual Practices, excluding the cover

page, table of contents, table of authorities, and this certificate of compliance, Plaintiff’s

Memorandum in Opposition to the Federal Reserve Bank of New York’s and the Board of

Governors of the Federal Reserve System’s Motions to Dismiss (the “Opposition”) contains

11,416 words. The Opposition complies with the formatting rules set forth in Section II.D of the

Court’s Individual Practices.


Dated: April 12, 2024                       By:    /s/ Abbe David Lowell
                                                   Abbe David Lowell




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